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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF COLORADO

Civil Action No.: 1:20-cv-3186

Deborah Laufer,
     Plaintiff,
v.
TOWER ROAD LODGING, LLC,
     Defendant(s).


           PLAINTIFF’S NOTICE OF PENDENCY OF OTHER ACTIONS



       I hereby certify that the instant action is not related to any pending or closed

civil or criminal action previously filed in this Court, or any other Federal or State

Court, or administrative agency.

                             CERTIFICATE OF SERVICE

       I hereby certify that on    October 27, 2020, I filed the foregoing using the

Court's electronic filing system, which will serve all counsel of record electronically.

                                           s/ Suzette M. Marteny Moore
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